Case 1:21-cv-20862-BB Document 1 Entered on FLSD Docket 03/03/2021 Page 1 of 42




                                UNITED STATES DISTRICT COURT

                               SOUTHERN DISTRICT OF FLORIDA

                                              Case No.: ____

 MILLENNIUM FUNDING, INC., a Nevada
 corporation, HUNTER KILLER
 PRODUCTIONS,INC. a Nevada corporation,
 and VOLTAGE HOLDINGS, LLC, a Nevada
 corporation,

         Plaintiffs,

         vs.

 1701 MANAGEMENT LLC, a Puerto Rico
 limited liability company, CHARLES MUSZYNSKI ,
 individually, and DOES 1-100,

       Defendants.
 _______________________________________________/


                          COMPLAINT AND DEMAND FOR JURY TRIAL

         MILLENNIUM FUNDING, INC., HUNTER KILLER PRODUCTIONS, INC., and

 VOLTAGE HOLDINGS, LLC (“Plaintiffs”), by and through their counsel, bring this Complaint against

 CHARLES MUSZYNSKI , 1701 MANAGEMENT, LLC and DOES 1-100 (“Defendants”) and allege

 as follows:

                                  I.      NATURE OF THE ACTION

         1.      Plaintiffs brings this action under the United States Copyright Act of 1976, as amended,

 17 U.S.C. §§ 101, et seq. (the “Copyright Act”) and allege that Defendants CHARLES MUSZYNSKI

 and 1701 MANAGEMENT, LLC are secondarily liable (under material contribution, intentional

 inducement and vicarious infringement) for their customers direct infringements in violation of 17 U.S.C.

 §§ 106 and 501, liable for injunctive relief pursuant to 17 U.S.C. §§ 512(j), and secondarily liable for their

 customers violations under the Digital Millennium Copyright Act (“DMCA”), 17 U.S.C. § 1202.




 20-023DBa
Case 1:21-cv-20862-BB Document 1 Entered on FLSD Docket 03/03/2021 Page 2 of 42




         2.       Plaintiffs further allege that Defendants DOES 1-100 are liable for direct and contributory

 copyright infringement and DMCA violations.

                                 II.     JURISDICTION AND VENUE

         3.       This Court has subject matter jurisdiction over this action pursuant to 17 U.S.C. §§ 101,

 et. seq., (the Copyright Act), 28 U.S.C. § 1331 (federal question), 28 U.S.C. § 1338 (patents, copyrights,

 trademarks, and unfair competition) and 28 U.S.C. § 1367 (supplemental jurisdiction).

         4.       Defendants solicit, transact, or are doing business within this jurisdiction, and have

 committed unlawful and tortious acts both within and outside this jurisdiction with the full knowledge that

 their acts would cause injury in this jurisdiction.

         5.       Venue is proper in this District pursuant to 28 U.S.C. § 1391(a)-(c) because: (a) all or a

 substantial part of the events or omissions giving rise to the claims occurred in this District; (b)

 the Defendants reside or resided, and therefore can or could be found, in this District; and/or (c)

 Defendants are subject to the court’s personal jurisdiction with respect to the present action.

 Additionally, venue is proper in this District pursuant 28 U.S.C. § 1400(a) (venue for copyright

 cases), because the Defendants or Defendants’ agents resides and/or can be found in this District.

                                              III.     PARTIES

         A. The Plaintiffs

         6.       MILLENNIUM FUNDING, INC. (“Millennium”) is a corporation organized and

 existing under the laws of the State of Nevada and having a principal office in Los Angeles, California.

         7.       Millennium is the owner of the copyrights for the screenplay and motion picture in the

 movie “Automata” (“First Work”) a major motion picture released in 2014. The First Work is a science

 fiction film starring Antonio Banderas, Dylan McDermott and Melanie Griffith. The First Work tells the

 story of a post-apocalyptic Earth decimated by climate change where the remaining humans living in a



                                                       2
 20-023DBa
Case 1:21-cv-20862-BB Document 1 Entered on FLSD Docket 03/03/2021 Page 3 of 42




 network of safe cities with the assistance of humanoid robots. An insurance investigator for the

 manufacturer of the robots must investigate whether the robots have failed to obey protocols programmed

 into them to protect humans.

         8.      Millennium is also the owner of the copyrights for the screenplay and motion picture in

 the Work “Survivor” (“Second Work”), a major motion picture released in 2015. The Second Work is an

 action film starring Milla Jovovich, Pierce Brosnan and Dylan McDermott. The Second Work tells

 the story of a State Department employee entrusted in stopping terrorist attacks that is forced to flee when

 she is framed for a crime.

         9.      HUNTER KILLER PRODUCTIONS, INC. (“Hunter Killer”) is a corporation organized

 and existing under the laws of the State of Nevada and having a principal office in Los Angeles, California.

         10.     Hunter Killer is the owner of the copyrights for the screenplay and motion picture in the

 Work “Hunter Killer” (“Third Work”) a major motion picture released in 2018. The Third Work is an

 action movie starring Gerard Butler, Gary Oldman, Common, and Linda Cardellini. The Third Work tells

 the story of American submarine Captain Joe Glass on the hunt for a U.S. submarine in distress when he

 discovers a secret Russian coup which threatens to dismantle the world order.

         11.     Hunter Killer and Millennium are affiliates Millennium Media, a production company

 and distributor of a notable catalog of major motion pictures.

         12.     VOLTAGE HOLDINGS, LLC (“Voltage”) is a limited liability company organized and

 existing under the laws of the State of Nevada and having a principal office in Los Angeles, California.

         13.     Voltage is the owner of the copyrights for the screenplay and motion picture in the Work

 “I Feel Pretty”, (“Fourth Work”) a major motion picture released in 2018 and starring Amy Schumer,

 Michelle Williams and Rory Scovel. The Fourth Work tells the story of a woman struggling with

 insecurity who after awakening from a fall believes she is the most beautiful and capable woman on the



                                                      3
 20-023DBa
Case 1:21-cv-20862-BB Document 1 Entered on FLSD Docket 03/03/2021 Page 4 of 42




 planet.

           14.   Voltage is also the owner of the copyrights for the screenplay and motion picture in the

 Work “Shock and Awe” (“Fifth Work”) a major motion picture released in 2017 and starring Woody

 Harrelson, James Marsden and Rob Reiner. The Fifth Work tells the story of journalists from the Knight-

 Ridder news service covering President George W. Bush’s planned invasion of Iraq in 2003 who become

 skeptical of the claim that Saddam Hussein has weapons of mass destruction.

           15.   Voltage is an affiliate of Voltage Pictures, a production company with a notable catalog

 of major award-winning motion pictures.

           B. The Defendants

           16.   Defendant 1701 MANAGEMENT, LLC (“1701”) is a limited liability company

 organized under the laws of Puerto Rico and having a principal place of operations in San Juan, Puerto

 Rico.

           17.   Defendant CHARLES MUSZYNSKI (“MUSZYNSKI ”) is an adult individual residing

 in, upon information and belief, Seminole County, Florida.

           18.   Upon information and belief, MUSZYNSKI is the owner and sole member of 1701.

           19.   Upon information and belief, MUSZYNSKI is the owner and sole shareholder of 1701.

           20.   In the certificate of 1701, the email address of the resident agent is CMUSZYNSKI

 @TALISMARK.COM.

           21.   Defendants MUSZYNSKI and 1701 have entered into contractual service agreements

 with SMR HOSTING LLC and DAVID COX in which they agreed to be subject to jurisdiction in

 Florida.

           22.   Defendants MUSZYNSKI and 1701 purposefully directed their activities at, and

 consummated transactions with, for example, ReliableSite.Net LLC in this District, and performed



                                                    4
 20-023DBa
Case 1:21-cv-20862-BB Document 1 Entered on FLSD Docket 03/03/2021 Page 5 of 42




 acts by which Defendants MUSZYNSKI and 1701 purposefully availed themselves of the privilege

 of conducting activities in this District, thereby invoking the benefits and protections of its laws.

         23.     For example, Defendants MUSZYNSKI and 1701 entered into an agreement with

 ReliableSite.Net LLC for server and/or network services at a data center located in Miami, Florida

 and thus in this District.      Upon information and belief, the agreement requires Defendants

 MUSZYNSKI and 1701 to indemnify ReliableSite.Net LLC for claims based upon copyright

 infringement similar to the claims in this complaint.

         24.     Upon information and belief, Defendants MUSZYNSKI and 1701 sell or have sold

 Virtual Private Network (“VPN”) service to individuals residing in Florida and this District under the

 name LiquidVPN (the “LiquidVPN Service”).

         25.     Defendants DOES 1-100 entered into subscription agreements with Defendants

 MUSZYNSKI and 1701 for LiquidVPN Service and thus entered into an agreement with a company

 in this District. By the nature of the LiquidVPN Service which anonymizes the Internet Protocol

 (“IP”) address of the user, Plaintiffs are unable to ascertain the residency of Defendants DOES 1-

 100.

         26.     In the certificate of 1701, the authorized person is indicated as Carmen Marcano.

         27.     Upon information and belief, Carmen Marcano is or was a paralegal at the law firm

 Ferraiuoli LLC.

         28.     Upon information and belief, MUSZYNSKI purposely chose to place Carmen Marcano

 as the authorized person as an attempt to conceal his involvement with the LiquidVPN Service.

         29.     MUSZYNSKI          effectively makes all policy decisions for 1701, specifically

 including any policy regarding copyright infringement. Upon information and belief,

 MUSZYNSKI directed 1701’s response to allegations of copyright infringement occurring on the



                                                         5
 20-023DBa
Case 1:21-cv-20862-BB Document 1 Entered on FLSD Docket 03/03/2021 Page 6 of 42




 LiquidVPN Service, including the decisions not to terminate repeat copyright infringers, to ignore

 notices of copyright infringement and to promote the LiquidVPN Service for the purposes of

 copyright infringement.

         30.     Upon information and belief, MUSZYNSKI so dominates 1701 that it has become

 merely the alter ego to MUSZYNSKI .

         31.     There is such a unity of interest between MUSZYNSKI and 1701 that the

 individuality, or separateness, of MUSZYNSKI and 1701 has ceased and the facts are such that

 an adherence to the fiction of the separate existence of the MUSZYNSKI and 1701 would, under

 the particular circumstances, sanction a fraud or promote injustice.

         32.     MUSZYNSKI controls, participates in, exercises control over, or benefits from the

 infringement of Defendant 1701 as discussed below.

         33.     Defendant MUSZYNSKI and his alter ego 1701 operated the VPN service under the

 name LiquidVPN from, upon information and belief, March of 2019

         34.     In February of 2019, MUSZYNSKI and his alter ego 1701 entered into an asset purchase

 agreement with DAVID COX and his alter ego SMR HOSTING LLC to purchase the assets of

 LiquidVPN. MUSZYNSKI and 1701 will be collectively referred to as “LiquidVPN Defendants”.

         35.     Upon information and belief, the LiquidVPN Defendants primarily operate the

 LiquidVPN Service from February of 2019 to the present.

         36.     The LiquidVPN Defendants’ LiquidVPN Service is for transmitting, routing and/or

 or providing connections for said transmitting and routing, through a network controlled by the

 LiquidVPN Defendants (“providing network connections”).

         37.     A VPN is a type of Internet Service that provides access to the Internet. A conventional

 Internet Service Provider (“ISP”) will assign its subscriber an IP address and log the subscriber’s activities



                                                       6
 20-023DBa
Case 1:21-cv-20862-BB Document 1 Entered on FLSD Docket 03/03/2021 Page 7 of 42




 on the Internet while using the assigned IP address. In comparison, many VPN providers provide their

 subscribers “anonymous” usage by, for example, not logging subscriber access, assigning the subscriber

 IP addresses that are simultaneously shared among many users, and/or encrypting traffic.

         38.    The LiquidVPN Defendants advertise their LiquidVPN Service as providing

 “Anonymous IP Addresses to Protect … Online Privacy”, being used to “Hide Your IP address”

 and further state that LiquidVPN has “…over two thousand public IP addresses. Imagine getting

 access to a new IP anytime you use the VPN for Kodi and BitTorrent.”




         39.    The LiquidVPN Defendants advertise the LiquidVPN Service as providing three

 different types of VPN connections: 1) dynamically assigned public IP address in which a public

 IP address is randomly assigned; 2) a shared VPN tunnel in which encrypted VPN traffic is

 protected behind a firewall; and 3) Modulating VPN tunnel in which the subscriber’s public IP

 address from which traffic exits is changed on new events that create new connections. See

 https://www.liquidvpn.com/supported-vpn-tunnel/ [last accessed on Feb. 23, 2021].

         40.    The LiquidVPN Defendants recommend the dynamically assigned public IP



                                                    7
 20-023DBa
Case 1:21-cv-20862-BB Document 1 Entered on FLSD Docket 03/03/2021 Page 8 of 42




 address for peer-2-peer (P2P) downloading.

         41.    DOES 1-100 are subscribers of the LiquidVPN Service. Each of DOES 1-100 were

 assigned an IP address from the LiquidVPN Service and said IP address to download and reproduce

 Plaintiffs’ Works without a license and further share (distribute) copies of Plaintiffs’ Works from said

 Internet Protocol address to individuals across the world as encouraged and instructed to by the

 LiquidVPN Defendants.

         42.    Each of Defendants DOES 1-100 used a piracy website such as Pirate Bay either

 directly or via a BitTorrent Client such as Popcorn Time to obtain torrent files for downloading

 and distributing Plaintiffs’ Works using an IP address provide by the LiquidVPN Defendants

         43.    Defendants DOES 1-100 are members of a group of BitTorrent users or peers whose

 computers are collectively interconnected for the sharing of a particular unique file, otherwise

 known as a “swarm”. The particular file a BitTorrent swarm is associated with has a unique “hash”

 number and a file name.

         44.    Plaintiffs are informed and belief that the LiquidVPN Defendants are in possession

 of identification information or information that will lead to the identities of DOES 1-100 such as

 payment information. However, further discovery may be necessary in some circumstances in

 order to be certain of the identity of the proper Defendant. Plaintiff believes that information

 obtained in discovery will lead to the identification of each Defendants DOES 1-100’s true name

 and permit the Plaintiffs to amend this Complaint to state the same. Plaintiffs further believe that

 the information obtained in discovery may lead to the identification of additional infringing parties

 to be added to this Complaint as defendants. Plaintiffs will amend this Complaint to include the

 proper names and capacities when they have been determined. Plaintiff is informed and believes,

 and based thereon alleges, that each of the fictitiously named Defendants participated in and are



                                                    8
 20-023DBa
Case 1:21-cv-20862-BB Document 1 Entered on FLSD Docket 03/03/2021 Page 9 of 42




 responsible for the acts described in this Complaint and damages resulting therefrom.

         C. Non-parties

         45.    SMR HOSTING LLC (“SMR”) is a limited liability company organized under the laws

 of Michigan with its principal place of operations in, upon information and belief, Canton, Michigan

 (Wayne County).

         46.    Upon information and belief, SMR has been in existence since 2013.

         47.    DAVID COX (“Cox”) is an adult individual residing in, upon information and belief,

 Livonia, Michigan (Wayne County).

         48.    The American Registry of Internet Numbers (“ARIN”) is a nonprofit, member-based

 organization that manages and distributes Internet number resources such as IP addresses and

 Autonomous System Numbers (ASNs).

         49.    ARIN manages these resources within its service region, which is comprised of Canada,

 the United States, and many Caribbean and North Atlantic islands.

         50.    Choopa LLC (“Choopa”) is a provider of data centers, dedicated servers and colocation

 service. Choopa receives IP addresses from ARIN.

         51.    ReliableSite.Net LLC (“Reliable”) is a provider of data centers and dedicated servers.

 Reliable obtains at least some services including IP addresses from Choopa. Reliable assigned IP

 addresses to the LiquidVPN Defendants.

         52.    HugeServer Networks, LLC (“HugeServer”) is also a provider of data centers, dedicated

 servers and colocation service. Upon information and belief, HugeServer also receives IP addresses from

 ARIN and assigned IP addresses to the LiquidVPN Defendants.



                                              IV.       JOINDER



                                                    9
 20-023DBa
Case 1:21-cv-20862-BB Document 1 Entered on FLSD Docket 03/03/2021 Page 10 of 42




          53.     Pursuant to Fed. R. Civ. P. 20(a)(1), each of the Plaintiffs are properly joined

  because, as set forth in detail above and below, the Plaintiffs assert: (a) a right to relief arising out

  of the same transaction, occurrence, or series or transactions, namely the use of the LiquidVPN

  Service by the LiquidVPN Defendants’ subscribers (Defendants DOES 1-100) for infringing the

  copyrights in Plaintiffs’ Works, the contribution to said infringements by the LiquidVPN

  Defendants, and the promotion of LiquidVPN by the LiquidVPN Defendants for the purpose of

  infringing copyright protected Works including Plaintiffs; and (b) that there are common questions

  of law and fact.

          54.     Pursuant to Fed. R. Civ. P. 20(a)(2), each of the Defendants was properly joined

  because, as set forth in more detail below, the Plaintiffs assert that the infringements complained

  of herein by each of the Defendants (a) arises out of the same transaction, occurrence, or series of

  transactions or occurrences, and (b) there are common questions of law and fact. That is, each of

  Defendants DOES 1-100 used the LiquidVPN Service provided and promoted by the LiquidVPN

  Defendants to infringe Plaintiffs’ copyrights in their Works.

          55.     Plaintiffs assert a right of relief against the LiquidVPN Defendants jointly and

  severally.

                                 V.      FACTUAL BACKGROUND

          A. The Plaintiffs Own the Copyrights to the Works

          56.     The Plaintiffs are the owners of the copyright in the Works, respectively. The

  Works are the subjects of copyright registrations, and this action is brought pursuant to 17 U.S.C.

  § 411. See Exhibit “1”.

          57.     Each of the Works are motion pictures currently offered for sale in commerce.

          58.     Defendants had notice of Plaintiffs’ rights through at least the credits indicated in



                                                     10
  20-023DBa
Case 1:21-cv-20862-BB Document 1 Entered on FLSD Docket 03/03/2021 Page 11 of 42




  the content of the motion pictures which bore proper copyright notices.

          59.    Defendants also had notice of Plaintiffs’ rights through general publication and

  advertising associated with the motion pictures, and packaging and copies, each of which bore a

  proper copyright notice.

          B. Defendants DOES 1-100 Used BitTorrent to Infringe the Plaintiffs’ Copyrights

          60.    BitTorrent is one of the most common peer-to-peer file sharing protocols (in other

  words, set of computer rules) used for distributing large amounts of data.

          61.    The BitTorrent protocol’s popularity stems from its ability to distribute a large file

  without creating a heavy load on the source computer and network. In short, to reduce the load on

  the source computer, rather than downloading a file from a single source computer (one computer

  directly connected to another), the BitTorrent protocol allows users to join a "swarm" of host

  computers to download and upload from each other simultaneously (one computer connected to

  numerous computers).

          1. Each of Defendants DOES 1-100 installed a BitTorrent Client onto his or her

          Computer.

          62.    A BitTorrent Client is a software program that implements the BitTorrent Protocol.

  There are numerous such software programs which can be directly downloaded from the Internet.

          63.    Once installed on a computer, the BitTorrent Client serves as the user’s interface

  during the process of uploading and downloading data using the BitTorrent protocol.

          64.    Defendants DOES 1-100 installed a BitTorrent Client such as “Popcorn Time” onto

  their respective computers.

          65.    Popcorn Time has been referred to in the news media as “Netflix for pirates”.

  http://fortune.com/2016/02/26/popcorn-time-netflix-pirates/ [accessed on March 1, 2021].



                                                  11
  20-023DBa
Case 1:21-cv-20862-BB Document 1 Entered on FLSD Docket 03/03/2021 Page 12 of 42




          66.     Popcorn Time provides an interface so that users can easily copy and share copies

  of copyright protected content, including Plaintiffs’.

          67.     The home interface of Popcorn Time includes a collection of title art of popular

  motion pictures and a search bar where a user can enter words associated with a copyright protected

  motion picture they wish to copy.

          68.     Simply entering words associated with a motion picture automatically generates a

  pull down tab below the search bar with a narrowed selection of motion pictures associated with

  the words.

          2. The Initial Seed, Torrent, Hash and Tracker

          69.     A BitTorrent user that wants to upload a new file, known as an “initial seeder,”

  starts by creating a “torrent” descriptor file using the Client he or she installed onto his or her

  computer.

          70.     The initial user or seeder of a file used a process referred to as “ripping” to create a

  copy of motion pictures from either Blu-ray or legal streaming services.

          71.     The initial seeder often modifies the file title of the Work to include a wording such

  as “RARBG”, “FGT” or “YTS” in the title of the torrent files and file copies in order to enhance

  a reputation for the quality of his or her files and attract users to his or her piracy website.

          72.     The Client takes the target computer file, the “initial seed,” here the copyrighted

  Work, and divides it into identically sized groups of bits known as “pieces.”

          73.     The Client then gives each one of the computer file’s pieces, in this case, pieces of

  the copyrighted Work, a random and unique alphanumeric identifier known as a “hash” and

  records these hash identifiers in the torrent file.

          74.     When another peer later receives a particular piece, the hash identifier for that piece



                                                        12
  20-023DBa
Case 1:21-cv-20862-BB Document 1 Entered on FLSD Docket 03/03/2021 Page 13 of 42




  is compared to the hash identifier recorded in the torrent file for that piece to test that the piece is

  error-free. In this way, the hash identifier works like an electronic fingerprint to identify the source

  and origin of the piece and that the piece is authentic and uncorrupted.

          75.     Torrent files also have an "announce" section, which specifies the URL (Uniform

  Resource Locator) of a “tracker,” and an "info" section, containing (suggested) names for the files,

  their lengths, the piece length used, and the hash identifier for each piece, all of which are used by

  Clients on peer computers to verify the integrity of the data they receive.

          76.     The “tracker” is a computer or set of computers that a torrent file specifies and to

  which the torrent file provides peers with the URL address(es).

          77.     The tracker computer or computers direct a peer user’s computer to other peer

  user’s computers that have particular pieces of the file, here the copyrighted Work, on them and

  facilitates the exchange of data among the computers.

          78.     Depending on the BitTorrent Client, a tracker can either be a dedicated computer

  (centralized tracking) or each peer can act as a tracker (decentralized tracking.)

          3. Torrent Sites

          79.     “Torrent sites” are websites that index torrent files that are currently being made

  available for copying and distribution by people using the BitTorrent protocol. There are

  numerous torrent websites such as The Pirate Bay, Kickass Torrents and Extratorrents.

          80.     The Pirate Bay torrent site is so notorious that the United States Trade

  Representative (“USTR”) placed it on a list of examples of Notorious Markets engaged in and

  facilitating substantial piracy.

          See USTR, 2018 Out-of-Cycle Review of Notorious Markets, April 2019, pgs. 27-28,

          Available at:https://ustr.gov/sites/default/files/2018_Notorious_Markets_List.pdf



                                                    13
  20-023DBa
Case 1:21-cv-20862-BB Document 1 Entered on FLSD Docket 03/03/2021 Page 14 of 42




          [last accessed on February 23, 2021]

          81.    Upon information and belief, Defendants DOES 1-100 went to a torrent site directly

  or indirectly to upload and download Plaintiffs’ copyrighted Works.

          82.    Upon information and belief, Defendants DOES 1-100 went to the torrent site Pirate

  Bay directly or indirectly to download Plaintiffs’ copyrighted Works.

          83.    By using a BitTorrent Client such as Popcorn Time, Defendants DOES 1-100 can

  simply enter words associated with a motion picture to automatically generate a pull down tab

  below the search bar with a narrowed selection of motion pictures associated with the words and

  chose one particular motion picture and automatically connect to torrent sites.

          4. Uploading and Downloading a Work Through a BitTorrent Swarm

          84.    Once the initial seeder has created a torrent and uploaded it onto one or more torrent

  sites, then other peers begin to download and upload the computer file to which the torrent is linked

  (here the copyrighted Works) using the BitTorrent protocol and BitTorrent Client that the peers

  installed on their computers.

          85.    The BitTorrent protocol causes the initial seeder’s computer to send different pieces

  of the computer file, here the copyrighted Work, to the peers seeking to download the computer

  file.

          86.    Once a peer receives a piece of the computer file, here a piece of the copyrighted

  Work, it starts transmitting that piece to the other peers.

          87.    In this way, all of the peers and seeders are working together in what is called a

  “swarm.”

          88.    Here, Defendants DOES 1-100 participated in the same swarm and directly

  interacted and communicated with other members of that swarm through digital handshakes, the



                                                    14
  20-023DBa
Case 1:21-cv-20862-BB Document 1 Entered on FLSD Docket 03/03/2021 Page 15 of 42




  passing along of computer instructions, uploading and downloading, and by other types of

  transmissions.

          89.      In this way, and by way of example only, one initial seeder can create a torrent that

  breaks a movie up into hundreds or thousands of pieces saved in the form of a computer file, like

  the Works here, upload the torrent onto a torrent site, and deliver a different piece of the

  copyrighted Work to each of the peers. The recipient peers then automatically begin delivering the

  piece they just received to the other peers in the same swarm.

          90.      Once a peer has downloaded the full file, the BitTorrent Client reassembles the

  pieces and the peer is able to view the movie. Also, once a peer has downloaded the full file, that

  peer becomes known as “an additional seed,” because it continues to distribute the torrent file, here

  the copyrighted Work.

          5. The Plaintiffs’ Computer Investigator Identified the Defendants’ IP Address as

          Participants in a Swarm That Was Distributing the Plaintiffs’ Copyrighted Works

          91.      The Plaintiffs retained Maverickeye UG (“MEU”) to identify the IP addresses that

  are being used by those people that are using the BitTorrent protocol and the Internet to reproduce,

  distribute, display or perform the Plaintiffs’ copyrighted Works.

          92.      MEU used forensic software to enable the scanning of peer-to-peer networks for

  the presence of infringing transactions.

          93.      MEU extracted the resulting data emanating from the investigation, reviewed the

  evidence logs, and isolated the transactions and the IP addresses associated therewith for the files

  identified by the SHA-1 hash value of the Unique Hash Number.

          94.      The IP addresses, Unique Hash Number, and hit dates contained on Exhibit “2”

  accurately reflect what is contained in the evidence logs, and show that Defendants DOES 1-100



                                                    15
  20-023DBa
Case 1:21-cv-20862-BB Document 1 Entered on FLSD Docket 03/03/2021 Page 16 of 42




  have copied a piece of the Plaintiffs’ copyrighted Works Automata, Hunter Killer, I Feel Pretty

  and Shock and Awe as identified by the Unique Hash Number from IP address 108.61.128.241.

          95.     The Defendants DOES 1-100’s computers used the identified IP address to connect

  to the investigative server from a computer in this District in order to transmit a full copy, or a

  portion thereof, of a digital media file identified by the Unique Hash Number.

          96.     MEU’s agent analyzed each BitTorrent “piece” distributed by the IP addresses

  listed on Exhibit “2” and verified that re-assemblage of the pieces using a BitTorrent Client results

  in a fully playable digital motion picture of the Work.

          97.     MEU’s agent viewed the Works side-by-side with the digital media file that

  correlates to the Unique Hash Number and determined that they were identical, strikingly similar

  or substantially similar.

          C. Defendants DOES 1-100 knew the Copyright Management Information included in

          the files they distributed to other peers had been removed or altered without the authority

          of Plaintiffs.

          98.     A legitimate file copy of the Work includes copyright management information

  (“CMI”) indicating the title.

          99.     The initial seeders of the infringing file copies of Plaintiffs’ Works added wording

  to the file titles Hunter Killer, I Feel Pretty, and Shock and Awe to “brand” the quality of piracy

  files he or she released and attract further traffic to his or her website.

          100.    The initial seeder of the infringing file copies of the Works Hunter Killer and Shock

  and Awe added the wording “FGT” to the file titles to brand the quality of piracy files he or she

  released and attract further traffic to the RARBG website.

          101.    The word FGT is not included in the file title of legitimate copies or streams of the



                                                     16
  20-023DBa
Case 1:21-cv-20862-BB Document 1 Entered on FLSD Docket 03/03/2021 Page 17 of 42




  Works Hunter Killer and Shock and Awe. The initial seeder of the Work altered the title to falsely

  include the words “FGT” in the CMI.

           102.   The initial seeder of the infringing file copies of the Work I Feel Pretty added the

  wording “YTS” to the file titles to brand the quality of piracy files he or she released and attract

  further traffic to the YTS website.

           103.   The word YTS is not included in the file title of legitimate copies or streams of the

  Voltage’s Work I Feel Pretty. The initial seeder of the Work altered the title to falsely include the

  words “YTS” in the CMI.

           104.   The file copies Defendants DOES 1-100 distributed to other peers in the Swarm

  included the altered CMI in the file title.

           105.   Defendants DOES 1-100 knew that the website or BitTorrent Client from which

  they obtained their torrent files was distributing illegal copies of the Work.

           106.   Defendants DOES 1-100 knew that YTS or FGT was not the author of Plaintiffs’

  Works.

           107.   Defendants DOES 1-100 knew that YTS or FGT was not a licensed distributor of

  Plaintiffs’ Works. Indeed, the YTS website includes a warning to this effect.

           108.   Defendants DOES 1-100 knew that the CMI that included YTS and FGT in the file

  names was false.

           109.   Defendants DOES 1-100 knew that the false or altered CMI in the titles would

  induce, enable, facility or conceal infringements of the Work when they distributed the false CMI,

  altered CMI or the Work including the false or altered CMI.

           110.   Namely, Defendants DOES 1-100 knew that other recipients would see the file

  titles and use the altered CMI to go to the website such as YTS from where the torrent files



                                                   17
  20-023DBa
Case 1:21-cv-20862-BB Document 1 Entered on FLSD Docket 03/03/2021 Page 18 of 42




  originated to obtained unlicensed copies of the Work.

          111.     By providing the altered CMI to others, Defendants DOES 1-100 induced, enabled

  and facilitated further infringements of the Work.

          D. The LiquidVPN Defendants had knowledge that their subscribers were infringing

          Plaintiffs’ Works and distributing file copies of the Works with altered CMI but

          continued to provide LiquidVPN to their subscribers

          112.     Plaintiffs engaged MEU to generate Notices of infringements (“Notices”) styled per 17

  U.S.C. §512(c)(3) of the DMCA to be sent to ISPs of IP addresses where MEU confirmed infringement

  of copyright protected content.

          113.     Each Notice included at least the name of the copyright owner, the title of the Work,

  the manner by which it was infringed, the infringing file name which includes the altered CMI, the

  IP address and port number at where infringement was confirmed and the time of infringement

  down to the second. See Exhibit “3” (excerpt below).




          114.     MEU determines the proper abuse contact email address for the ISP assigned the IP

  addresses at issue from publicly available information from ARIN.

          115.     Plaintiffs’ agent sends the Notice to the abuse contact email address.

          116.     MEU relied on publicly available information from ARIN to identify non-party Choopa

  as the ISP for certain IP addresses at issue.

          117.     Plaintiffs’ agent sent Notices to Choopa concerning IP addresses associated with

  confirmed infringing activity.



                                                      18
  20-023DBa
Case 1:21-cv-20862-BB Document 1 Entered on FLSD Docket 03/03/2021 Page 19 of 42




          118.    Plaintiffs’ agent sent over 50 Notices to Choopa concerning IP address 108.61.128.241

  between October of 2018 and April of 2019 (“time period”).

          119.    During this time period, Choopa had allocated IP address 108.61.128.241 to Reliable.

          120.    During this time period, Reliable had allocated IP address 108.61.128.241 to the

  LiquidVPN Defendants.

          121.    During this time period, Choopa forwarded Notices sent by Plaintiffs to its customers,

  including Reliable.

          122.    During this time period, Reliable forwarded Notices it received from Choopa concerning

  IP address 108.61.128.241 to the LiquidVPN Defendants.

          123.    Upon information and belief, other rightsholders had similar Notices sent to Choopa

  concerning infringing activity at IP addresses controlled by the LiquidVPN Defendants that the

  LiquidVPN Defendants indeed received.

          124.    For example, Home Box Office, Inc. (“HBO”) sent a Notice to Choopa concerning

  infringing activity at IP address 108.61.128.206 controlled by the LiquidVPN Defendants on April 11,

  2014 that was received by the LiquidVPN Defendants.

          125.    Upon information and belief, other rightsholders had similar Notices sent to non-parties

  such as HugeServer concerning infringing activity at IP addresses controlled by the LiquidVPN

  Defendants that they received.

          126.    For example, other rightsholders sent Notices to HugeServer concerning infringements of

  their Works at IP addresses 199.241.145.134 and 199.244.119.101 in 2015 that were received by the

  LiquidVPN Defendants.

          127.    The LiquidVPN Defendants continued to provide the LiquidVPN Service to their

  subscribers despite knowledge that their subscribers were using the service to pirate copyright protected



                                                     19
  20-023DBa
Case 1:21-cv-20862-BB Document 1 Entered on FLSD Docket 03/03/2021 Page 20 of 42




  Works including Plaintiffs’ exactly as promoted, encouraged and instructed by the LiquidVPN

  Defendants.

          E. The LiquidVPN Defendants intentionally induce infringements of copyright protected

          Works, including Plaintiffs’ Works.

          128.    The LiquidVPN Defendants actively promote their LiquidVPN Service for the purpose

  of movie piracy, including of infringing Plaintiffs’ Works.

          129.    The LiquidVPN Defendants’ website includes a statement that their VPN service is the

  “Best VPN for Torrenting and P2P Filesharing today” over the image of the notorious movie piracy

  website Pirate Bay. See https://www.liquidvpn.com/best-vpn-for-torrenting/ [last accessed on Feb. 23,

  2021] (excerpt below).




          130.    The LiquidVPN Defendants state their LiquidVPN Service can be used to “Watch



                                                     20
  20-023DBa
Case 1:21-cv-20862-BB Document 1 Entered on FLSD Docket 03/03/2021 Page 21 of 42




  Popcorn Time without being detected by your ISP and P2P tracking software”.                        See

  https://www.liquidvpn.com/popcorn-time-vpn/ [last accessed on Feb. 23, 2021]. (excerpt below).




          131.    The LiquidVPN Defendants further state, “Experience everything Popcorn Time has to

  offer in the United States and the UK. Except the risks”, “Stream Content Anonymously. Why bother

  risking complaints from your ISP, settlement demands, threats and jail time for streaming your favorite

  TV show.” Id.




                                                    21
  20-023DBa
Case 1:21-cv-20862-BB Document 1 Entered on FLSD Docket 03/03/2021 Page 22 of 42




          132.   Defendants include a screenshot of Popcorn Time operating on a mobile device that

  includes the movie art of Millennium’s Work Survivor among other copyright protected titles. See id.




                                                    22
  20-023DBa
Case 1:21-cv-20862-BB Document 1 Entered on FLSD Docket 03/03/2021 Page 23 of 42




                             Magnified Version showing “Survivor

          133.   Plaintiffs’ investigator confirmed that Popcorn Time can be used to download,

  reproduce, and distribute copies of the Works Survivor, Automata, I Feel Pretty and Shock and Awe

  exactly as promoted and encouraged by the LiquidVPN Defendants.




                                                 23
  20-023DBa
Case 1:21-cv-20862-BB Document 1 Entered on FLSD Docket 03/03/2021 Page 24 of 42




          134.   The LiquidVPN Defendant’s subscribers such as DOES 1-100 use said movie

  piracy apps exactly as explained and encouraged to them by the LiquidVPN Defendants – to

  infringe copyright protected content while logged into LiquidVPN so they can conceal their illicit

  activities.

          135.   The LiquidVPN Defendants’ subscribers use LiquidVPN to “…watch Popcorn

  Time without being detected by [their] ISP and P2P tracking software [such as Plaintiffs]”, to

  “Experience everything Popcorn Time has to offer in the United States … Except the risks”, and “Stream

  Content Anonymously” while not risking…complaints from your ISP, settlement demands, threats and

  jail time for streaming your favorite TV show” exactly as encouraged to by the LiquidVPN Defendants.

          136.   The LiquidVPN Defendants even blatantly promote their service to be used to

  stream copyright law in violation of criminal laws and encourage their users to do so.




          137.   The LiquidVPN defendants promote LiquidVPN as a tool to engage in massive

  copyright infringement to entice subscribers to purchase their LiquidVPN Service.

          138.   Based upon the Liquid VPN Defendants’ encouragement that the LiquidVPN can

  be used to “safely” operate piracy apps such as Popcorn Time and visit torrent sites such as Pirate

  Bay, Kickass Torrents and Extratorrents, subscribes such as Defendants DOES 1-100 purchase

                                                   24
  20-023DBa
Case 1:21-cv-20862-BB Document 1 Entered on FLSD Docket 03/03/2021 Page 25 of 42




  LiquidVPN, install piracy apps such as Popcorn Time on their devices and/or visit torrent sites to

  infringe copyright protected content including Plaintiffs’ while using the LiquidVPN Service.




          139.   In a Frequently Asked Questions section of the LiquidVPN Defendants’ website,

  in response to the question “Can I use BitTorrent and P2P”, the LiquidVPN Defendants say

  affirmatively “Yes” and point out they “…will never censor P2P or BitTorrent…”.




          140.   Upon information and belief, the LiquidVPN Defendants paid the operators of

  websites that hold themselves out as “neutral” evaluations of VPN services for positive evaluations

          141.   Defendants DOES 1-100 installed Popcorn Time on their device so they could

  watch content in violation of copyright laws (i.e., “free movies”).

          142.   Defendants DOES 1-100 obtained an IP address from the LiquidVPN Defendants


                                                  25
  20-023DBa
Case 1:21-cv-20862-BB Document 1 Entered on FLSD Docket 03/03/2021 Page 26 of 42




  via the LiquidVPN Service, and used the IP address to download and share copies of copyright

  protected content including Plaintiffs by using Popcorn Time as instructed by the LiquidVPN

  Defendants while concealing their identity.

          143.    The LiquidVPN Defendants knew or had reason to know that their subscribers used

  Popcorn Time exactly as promoted by them would result in direct infringement of the Copyrights

  of specific material including Plaintiffs’.

          F. The LiquidVPN Defendants control the conduct of their subscribers.

          144.    The LiquidVPN Defendants can terminate their subscriber accounts at anytime.

          145.    Upon information and belief, the LiquidVPN Defendants promptly terminated

  subscriber accounts when said subscribers failed to pay for the LiquidVPN Service.

          146.    The LiquidVPN Defendants have the capability to log their subscribers’ access to

  the LiquidVPN Service but purposefully choose not to.

          147.    Indeed, the LiquidVPN Defendants make clear that they will log a subscriber’s

  activities if they believe these activities are negatively impacting the performance of their network.

  In such cases, the LiquidVPN Defendants store: Login/logout Timestamps; Remote IP; Username;

  and Local IP.

          G. The LiquidVPN Defendants profit from the massive piracy conducted by their

          subscribers.

          148.    The LiquidVPN Defendants encourage their subscribers to use their LiquidVPN

  Service for piracy.

          149.    The LiquidVPN Defendants even market particular products to assist their

  subscribers in engaging in piracy anonymously.

          150.    The LiquidVPN Defendants state that “If you follow our directions this VPN kill



                                                   26
  20-023DBa
Case 1:21-cv-20862-BB Document 1 Entered on FLSD Docket 03/03/2021 Page 27 of 42




  switch will never give your real IP away.” See https://www.liquidvpn.com/vpn-kill-switches/ [last

  accessed on Feb. 26, 2021].

           151.   The LiquidVPN Defendants pay affiliates operating websites evaluating VPN

  services to give them a positive evaluation and recommend their service for piracy.

           152.   For example, on the BESTVPN website https://bestvpn.org/liquidvpn-review/, the

  author gave the LiquidVPN Service a review of 3.5/5 stars.

           153.   In the review, the author stated that “With the Liquid Lock enabled, torrenting is

  protected from an occasional connection drop”.

           154.   In the review, the author noted that “P2P is allowed, in case you were wondering”

  and “provider openly supports P2P”.

           155.   The author of the article never states that BESTVPN is one among dozens of paid

  affiliates of Defendants.

           156.   The LiquidVPN Defendants recommend their Public IP VPN Topology for “P2P

  downloading”. See https://www.liquidvpn.com/supported-vpn-tunnel/ [last accessed on Feb. 26,

  2021].

           157.   The LiquidVPN Defendants state, “Once you buy VPN service from LiquidVPN

  our network becomes your network. Use it as much as you like. Here are some highlights – We do

  not limit Bittorrent or P2P.” See https://www.liquidvpn.com/buy-vpn-service/ [last accessed on

  Feb. 26, 2021].

           H. The LiquidVPN Defendants do not have a safe harbor from liability.

           158.   As part of the DMCA, Congress created a safe harbor that limits the liability of

  ISPs for copyright infringement when their involvement is limited to, among other things,

  “transmitting, routing, or providing connections for, material through a system or network



                                                   27
  20-023DBa
Case 1:21-cv-20862-BB Document 1 Entered on FLSD Docket 03/03/2021 Page 28 of 42




  controlled or operated by or for the service provider.” 17 U.S.C. § 512(a). To benefit from this

  safe harbor, however, an ISP must demonstrate that it “has adopted and reasonably implemented .

  . . a policy that provides for the termination in appropriate circumstances of subscribers . . . who

  are repeat infringers.” 17 U.S.C. § 512(i)(1)(A)

          159.    The LiquidVPN Defendants have failed to terminate any repeat infringers and/or take any

  meaningful actions against their subscribers in response to these Notices consistent with a reasonably

  implemented policy (“policy”) for termination of subscribers and account holders of the service provider’s

  system or network who are repeat infringers necessary to support a safe harbor from liability.

          160.    The LiquidVPN Defendants’ refusal to terminate the accounts of subscribers using IP

  address 108.61.128.241 or take any action is illustrative of Defendants’ lack of any meaningful action

  consistent with the policy.

          161.    MEU confirmed over 2750 instances of distribution of Plaintiffs’ Works and those of non-

  parties such as Queen of the Desert and Beyond the Edge at just 108.61.128.241 between the time period.

          162.    Upon information and belief, Defendants failed to forward any Notices it received from

  any rightsholders to its subscribers.

          163.    The LiquidVPN Defendants do not have a policy of terminating repeat infringers.

          164.    The LiquidVPN Defendants even promote the fact that their LiquidVPN is a “DMCA

  Free Zone” as a positive aspect that makes them stand out from competing VPN providers. See

  https://www.liquidvpn.com/best-vpn-for-torrenting/ [last accessed on Feb. 23, 2021] (screenshot

  below).




                                                     28
  20-023DBa
Case 1:21-cv-20862-BB Document 1 Entered on FLSD Docket 03/03/2021 Page 29 of 42




           165.   The LiquidVPN Defendants brag that they take no action in response to Notices from

  copyright holders. See https://my.liquidvpn.com/knowledgebase [last accessed on Feb. 23, 2021].

           166.   the LiquidVPN Defendants proudly show a Notice of Infringement received from HBO

  concerning infringement of the series Game of Thrones at IP addresses 199.244.119.101 and

  199.244.119.103, and state on the bottom in red letters “No Action Taken”. See

  https://my.liquidvpn.com/knowledgebase/487/California---Notice-of-Claimed-Infringement-Case-8-

  Cases.html [last accessed on Feb. 23, 2021]




           167.   the LiquidVPN Defendants proudly display on their website that LiquidVPN dismissed

  over 100 Notices of Infringement received in April of 2015 from an adult movie provider concerning

  infringement of its Work at IP address 199.241.145.134 as “More Abusive DMCA reports from a single

  file.”             https://my.liquidvpn.com/knowledgebase/544/California---106-Notices-of-Claimed-

  Infringements-May-11.html [last accessed on Feb. 23, 2021]



                                                   29
  20-023DBa
Case 1:21-cv-20862-BB Document 1 Entered on FLSD Docket 03/03/2021 Page 30 of 42




          168.   In a Frequently Asked Questions section of the LiquidVPN Defendants’ website,

  in response to the question “Can I use BitTorrent and P2P?”, the LiquidVPN Defendants say

  affirmatively “Yes” and point out they “…will never censor P2P or BitTorrent…”.




          169.   The LiquidVPN Defendants have failed to designate and register an agent with the

  Copyright Office as provided by 17 U.S.C. § 512(c)(2) during the time period and including up to

  now.

          170.   The LiquidVPN Defendants’ conduct renders them ineligible for safe harbor

  immunity from copyright liability under the DMCA.

          I. MUSZYNSKI is individually liable for 1701’s conduct.

          171.   Upon information and belief, MUSZYNSKI ’s infringing conduct included, among

  other things, formulating and implementing the business policies, procedures, and practices that

  provide repeat infringers with continued internet service through LiquidVPN, without

  consequence. Because MUSZYNSKI directed 1701’s copyright policies, MUSZYNSKI is equally

  liable for 1701’s failure to comply with its legal responsibilities and for the copyright infringement


                                                   30
  20-023DBa
Case 1:21-cv-20862-BB Document 1 Entered on FLSD Docket 03/03/2021 Page 31 of 42




  that resulted from those failures.

          172.   MUSZYNSKI continues to hold the dissolved corporation LiquidVPN, Inc. as the

  owner and operator of the LiquidVPN Service despite LiquidVPN, Inc. being dissolved in 2018.




                                  VI. FIRST CLAIM FOR RELIEF

                 (Direct Copyright Infringement against Defendants DOES 1-100)

          173.   Plaintiffs re-alleges and incorporates by reference the allegations contained in each

  of the foregoing paragraphs.

          174.   Plaintiffs are the copyright owners of the Works Automata, Hunter Killer, I Feel

  Pretty and Shock and Awe which each contains an original work of authorship.

          175.   Defendants DOES 1-100 copied the constituent elements of these copyright

  protected Works.


                                                  31
  20-023DBa
Case 1:21-cv-20862-BB Document 1 Entered on FLSD Docket 03/03/2021 Page 32 of 42




          176.   By participating in the BitTorrent swarms with others, Defendants DOES 1-100

  distributed at least a piece of each of the copyright protected Works Automata, Hunter Killer, I

  Feel Pretty and Shock and Awe to others.

          177.   Plaintiffs did not authorize, permit, or provide consent to Defendants DOES 1-100

  to copy, reproduce, distribute or display their Works.

          178.   As a result of the foregoing, Defendants DOES 1-100 violated the Plaintiffs’

  exclusive right to reproduce the Works in copies, in violation of 17 U.S.C. §§ 106(1) and 501.

          179.   As a result of the foregoing, Defendants DOES 1-100 violated the Plaintiffs’

  exclusive right to distribute copies of the Work in copies, in violation of 17 U.S.C. §§ 106(3) and

  501.

          180.   Defendants DOES 1-100’s infringements were committed “willfully” within the

  meaning of 17 U.S.C. § 504(c)(2).

          181.   The Plaintiffs have suffered damages that were proximately caused by the

  Defendant DOES 1-100’s copyright infringement including, but not limited to lost sales, price

  erosion, and a diminution of the value of its copyright.

                                 VII. SECOND CLAIM FOR RELIEF

  (Contributory Copyright Infringement by Intentional Inducement against the Liquid VPN

                                             Defendants)

          182.   Plaintiffs re-allege and incorporate by reference the allegations contained in each

  of the foregoing paragraphs.

          183.   The LiquidVPN Defendants intentionally induced the infringement of Plaintiffs’

  exclusive rights under the Copyright Act, including infringement of Plaintiffs’ exclusive right to

  reproduce, publicly perform and distribute copies of the Copyrighted Works Automata, Survivor,



                                                  32
  20-023DBa
Case 1:21-cv-20862-BB Document 1 Entered on FLSD Docket 03/03/2021 Page 33 of 42




  Hunter Killer, I Feel Pretty, and Shock and Awe.

          184.     As instructed and encouraged by the LiquidVPN Defendants, their subscribers such

  as Defendants DOES 1-100 install the piracy app Popcorn Time on their devices while assigned

  IP addresses by the LiquidVPN Services to conceal their identities.

          185.     The LiquidVPN Defendants’ subscribers use Popcorn Time to connect to sources

  that publicly perform and/or distribute copies of Plaintiffs’ Copyrighted Works while they use the

  LiquidVPN Service.

          186.     The LiquidVPN Defendants induce direct infringement of Plaintiffs’ Works by

  encouraging their subscribers to use movie piracy apps such as Popcorn Time that facilitate,

  enable, and create direct links between their customers and infringing sources, and by actively

  inducing, encouraging and promoting their LiquidVPN Service as a means to “safely” use movie

  piracy applications for blatant copyright infringement by assuring customers that their

  identification information will be concealed by the LiquidVPN Service.

          187.     The LiquidVPN Defendant’ intentional inducement of the infringement of

  Plaintiffs’ rights in their Copyrighted Works constitutes a separate and distinct act of infringement.

                                     VIII. THIRD CLAIM FOR RELIEF

              (Contributory Copyright Infringement based upon Material Contribution against
                                             all Defendants)

          188.     Plaintiffs re-allege and incorporate by reference the allegations contained in each

  of the foregoing paragraphs.

          189.     By participating in the BitTorrent swarms with others, Defendants DOES 1-100

  induced, caused or materially contributed to the infringing conduct of the copyright protected

  Work Automata, Hunter Killer, I Feel Pretty, and Shock and Awe by others.

          190.     Plaintiffs did not authorize, permit, or provide consent to the Defendants inducing,


                                                    33
  20-023DBa
Case 1:21-cv-20862-BB Document 1 Entered on FLSD Docket 03/03/2021 Page 34 of 42




  causing, or materially contributing to the infringing conduct of others.

          191.   Defendants DOES 1-100 knew or should have known that the other BitTorrent

  users in a swarm with them were directly infringing the Plaintiffs’ copyrighted Works by copying

  constituent elements of the registered Works that are original. Indeed, Defendants DOES 1-100

  directly participated in and therefore materially contributed to others’ infringing activities.

          192.   Through its conduct, the LiquidVPN Defendants knowingly and intentionally

  induced, enticed, persuaded, and caused its subscribers to infringe Plaintiffs’ Copyrighted Works

  Automata, Survivor, Hunter Killer, I Feel Pretty, and Shock and Awe, and continue to do so in

  violation of Plaintiffs’ copyrights.

          193.   Through its activities, the LiquidVPN Defendants knowingly and intentionally take

  steps that are substantially certain to result in direct infringement of Plaintiffs’ Copyrighted Works,

  and that have resulted in such direct infringement in violation of Plaintiffs’ copyrights.

          194.   Despite the LiquidVPN Defendants’ knowledge that their subscribers are using

  their LiquidVPN Service to engage in widescale copyright infringements, the LiquidVPN

  Defendants have failed to take reasonable steps to minimize the infringing capabilities of its

  service.

          195.   Not only have the LiquidVPN Defendants failed to take reasonable steps to

  minimize the infringing capabilities of its service, the LiquidVPN Defendants actively promote

  their LiquidVPN Service as means to safely infringe Copyright protected Works, including

  Plaintiffs’ and explicitly the Work Survivor of Millennium.

          196.   The LiquidVPN Defendants are liable as contributory copyright infringers for the

  infringing acts of their subscribers. The LiquidVPN Defendants have actual and constructive

  knowledge of the infringing activity of their subscribers. The LiquidVPN Defendants knowingly



                                                    34
  20-023DBa
Case 1:21-cv-20862-BB Document 1 Entered on FLSD Docket 03/03/2021 Page 35 of 42




  caused and otherwise materially contributed to these unauthorized reproductions and distributions

  of Plaintiffs’ Works.

          197.    The Defendants’ infringements were committed “willfully” within the meaning of

  17 U.S.C. § 504(c)(2).

          198.    By engaging in the contributory infringement alleged in this Complaint, the

  Defendants deprived not only the producers of the Work from income that could have been derived

  when the respective film was shown in public theaters and offered for sale or rental, but also all

  persons involved in the production and marketing of this film, numerous owners of local theaters

  and retail outlets and their employees, and, ultimately, the local economy. The Defendants’

  misconduct therefore offends public policy.

                                   VIII. FOURTH CLAIM FOR RELIEF

                       (Vicarious Infringement against the LiquidVPN Defendants)

          199.    Plaintiffs re-allege and incorporate by reference the allegations contained in each

  of the foregoing paragraphs.

          200.    The LiquidVPN Defendants are vicariously liable for the infringing acts of their

  subscribers.

          201.    The LiquidVPN Defendants have the right and ability to supervise and control the

  infringing activities that occur through the use of their service, and at all relevant times has derived

  a direct financial benefit from the infringement of Plaintiffs’ copyrights.

          202.    The LiquidVPN Defendants have refused to take any meaningful action to prevent

  the widespread infringement by their subscribers. Indeed, the ability of subscribers to use

  Defendants’ LiquidVPN Service to access Popcorn Time to infringe Plaintiffs’ Works while

  concealing their activities acts as a powerful draw for users of the LiquidVPN Service, who use



                                                    35
  20-023DBa
Case 1:21-cv-20862-BB Document 1 Entered on FLSD Docket 03/03/2021 Page 36 of 42




  that service exactly as encouraged by the LiquidVPN Defendants to download and distribute

  copies of Plaintiffs’ Works.

          203.   The LiquidVPN Defendants are therefore vicariously liable for the unauthorized

  reproduction, distribution, and public performance of Plaintiffs’ Works.

                                 IX. FIFTH CLAIM FOR RELIEF

                          (Digital Millennium Copyright Act Violations)

          204.   Plaintiffs re-allege and incorporate by reference the allegations contained in each

  of the foregoing paragraphs.

          205.   The Defendants DOES 1-100 knowingly and with the intent to induce, enable,

  facilitate, or conceal infringement of the copyright protected Work I Feel Pretty distributed

  copyright management information (“CMI”) that falsely included the wording “YTS” or in

  violation of 17 U.S.C. § 1202(a)(2).

          206.   The Defendants DOES 1-100 knowingly and with the intent to induce, enable,

  facilitate, or conceal infringement of the copyright protected Works Hunter Killer and Shock and

  Awe distributed copyright management information (“CMI”) that falsely included the wording

  “FGT” in violation of 17 U.S.C. § 1202(a)(2).

          207.   Defendants DOES 1-100, without the authority of Plaintiffs Millennium and

  Voltage or the law, distributed removed or altered CMI knowing that the CMI had been removed

  or altered to include the wording “YTS” or “FGT” without the authority of the Plaintiffs and

  knowing, or having reasonable grounds to know, that it will induce, enable, facilitate, or conceal

  infringement of Plaintiffs’ Copyright protected Works in violation of 17 U.S.C. § 1202(b)(2).

          208.   Defendants DOES 1-100, without the authority of Plaintiffs Millennium and

  Voltage or the law, distributed Plaintiffs’ Copyright protected Works knowing that the CMI had



                                                  36
  20-023DBa
Case 1:21-cv-20862-BB Document 1 Entered on FLSD Docket 03/03/2021 Page 37 of 42




  been removed or altered to include the wording “YTS” or “FGT”, and knowing, or having

  reasonable grounds to know, that it will induce, enable, facilitate, or conceal infringement of the

  copyright protected Works in violation of 17 U.S.C. § 1202(b)(3).

          209.   Particularly, the Defendants DOES 1-100 knew that the CMI in the file names of

  the pieces of the Work had been altered to include the wording “YTS” or “FGT”.

          210.   Particularly, the Defendants DOES 1-100 distributed the file names that included

  CMI that had been altered to include the wording “YTS” or “FGT”.

          211.   Defendants DOES 1-100 knew that the wording “YTS” or “FGT” originated from

  notorious movie piracy website.

          212.   Defendants DOES 1-100’s acts constitute violations under the Digital Millennium

  Copyright Act (“DMCA violation”), 17 U.S.C. § 1202.

          213.   Through its conduct, the LiquidVPN Defendants knowingly and intentionally

  induced, enticed, persuaded, and caused its subscribers to constitute DMCA violations.

          214.   Through its activities, the LiquidVPN Defendants knowingly and intentionally take

  or took steps that are substantially certain to result in their subscribers committing DMCA

  violations, and that have resulted in DMCA violations.

          215.   The LiquidVPN Defendants encourage their subscribers to access torrent files for

  copying copyright protected Works from notorious movie piracy websites such as The Pirate Bay.

          216.   Despite the LiquidVPN Defendants’ knowledge that their subscribers use the

  LiquidVPN Service to commit DMCA violations, the LiquidVPN Defendants have failed to take

  reasonable steps to minimize the capabilities of its service to facilitate DMCA violation.

          217.   The LiquidVPN Defendants are secondarily liable for the DMCA violations of their

  subscribers.   The LiquidVPN Defendants have actual and constructive knowledge of their



                                                  37
  20-023DBa
Case 1:21-cv-20862-BB Document 1 Entered on FLSD Docket 03/03/2021 Page 38 of 42




  subscribers’ DMCA violations. The LiquidVPN Defendants knowingly caused and otherwise

  materially contributed to these DMCA violations.

          218.   The LiquidVPN Defendants are vicariously liable for the DMCA violations of its

  subscribers. The LiquidVPN Defendants have the right and ability to supervise and control the

  DMCA violation that occur through the use of its service, and at all relevant times has derived a

  direct financial benefit from the DMCA violations complained of herein. The LiquidVPN

  Defendants have refused to take any meaningful action to prevent the widespread DMCA

  violations by their subscribers. Indeed, the ability of subscribers to access torrent website such as

  the Pirate Bay that the LiquidVPN Defendants themselves promote and obtain file copies of the

  Works with altered CMI and distribute said copies while concealing their activities acts as a

  powerful draw for users of the LiquidVPN Service, who use that service exactly as encouraged by

  the LiquidVPN Defendants to commit DMCA violations. The LiquidVPN Defendants are

  therefore vicariously liable for the DMCA violations.

          219.   Plaintiffs are entitled to an injunction to prevent Defendants from engaging in

  and/or contributing to further violations of 17 U.S.C. § 1202.

          220.   Plaintiff is entitled to recover from Defendants the actual damages suffered by

  Plaintiffs and any profits Defendants have obtained as a result of their wrongful acts that are not

  taken into account in computing the actual damages. Plaintiffs are currently unable to ascertain the

  full extent of the profits Defendants have realized by their violations of 17 U.S.C. § 1202.

          221.   Plaintiffs are entitled to elect to recover from Defendants statutory damages for

  their violations of 17 U.S.C. § 1202.

          222.    Plaintiffs are further entitled to costs and reasonable attorneys’ fees.




                                                   38
  20-023DBa
Case 1:21-cv-20862-BB Document 1 Entered on FLSD Docket 03/03/2021 Page 39 of 42




                                  VI. SIXTH CLAIM FOR RELIEF

              (Application for Injunctive Relief based upon Contributory Infringement)

          223.     Plaintiffs re-allege and incorporates by reference the allegations contained in each

  of the foregoing paragraphs.

          224.     The LiquidVPN Defendants had actual knowledge of their users’ infringements of

  Plaintiff’s exclusive rights under the Copyright Act by accessing notorious piracy websites that

  are of foreign origin. Indeed, the LiquidVPN Defendants promote some of these notorious piracy

  websites.

          225.     Despite having said actual knowledge, the LiquidVPN Defendants haves continued

  to provide Internet service to their users.

          226.     The LiquidVPN Defendants’ actions of providing transmission, routing, or

  connections for said copies of the Works to their users are a direct and proximate cause of the

  infringements of Plaintiffs’ Works.

          227.     The LiquidVPN Defendants had actual or constructive knowledge of infringement

  of Plaintiffs’ exclusive rights under the Copyright Act by its users. The LiquidVPN Defendants

  knowingly and materially contributed to such infringing activity.

          228.     As a direct and proximate result of the infringement to which the Liquid VPN

  Defendants knowingly and materially contribute, Plaintiffs are entitled to injunctive or other

  equitable relief as provided by 17 U.S.C. §§ 512(j)(1)(A) and (B) including but not limited to an

  order restraining the Liquid VPN Defendants from providing access to infringing material or

  activity residing at movie piracy websites including but not limited to: (a) YTS; (b) Piratebay; (c)

  Rarbg; (d) 1337x; (e) Fmovies; (f) Cimaclub; (g) Phinmoi; (h) Rapidgator; (i) Rutracker; (j)

  Torrentz2; (k) Uploaded; and (l) VK and/or taking reasonable steps to block access to said movie



                                                    39
  20-023DBa
Case 1:21-cv-20862-BB Document 1 Entered on FLSD Docket 03/03/2021 Page 40 of 42




  piracy websites.

                                       PRAYER FOR RELIEF

          WHEREFORE, the Plaintiffs respectfully requests that this Court:

          (A) permanently enjoin Defendants DOES 1-100 from continuing to infringe the Plaintiffs’

  copyrighted Works;

          (B) permanently enjoin the LiquidVPN Defendants from contributing to infringement of

  Plaintiffs’ Works by promoting and encouraging their subscribers to use the LiquidVPN Service

  as a means to conceal use of software application Popcorn Time and movie piracy websites such

  as the Pirate Bay for pirating Plaintiffs’ Works.

          (C) permanently enjoin the LiquidVPN Defendants from contributing to infringement of

  Plaintiffs’ Works by promoting and encouraging their subscribers to use the LiquidVPN Service

  to use the software application Popcorn Time and access movie piracy websites, and particularly

  order the LiquidVPN Defendants to immediately remove the title art of Millennium’s Work

  Survivor from their website.

          (D) order the LiquidVPN Defendants to block subscribers from accessing notorious piracy

  websites of foreign origin that are listed in the annual trade report of Notorious Foreign Markets

  published by the United States Government on their LiquidVPN Service and any other networks

  under their control.

          (E) order the LiquidVPN Defendants to adopt a policy that provides for the prompt

  termination of subscribers that engage in repeat infringements of copyright protected Works.

          (F) order the LiquidVPN Defendants to block ports 6881-6889 on all of the servers under

  their control to prevent further pirating of Plaintiffs’ Works via the BitTorrent protocol.

          (G) award the Plaintiffs actual damages and Defendants’ profits in such amount as may



                                                      40
  20-023DBa
Case 1:21-cv-20862-BB Document 1 Entered on FLSD Docket 03/03/2021 Page 41 of 42
Case 1:21-cv-20862-BB Document 1 Entered on FLSD Docket 03/03/2021 Page 42 of 42
